                                                                                                                            Mar 21, 2024

                                                                                                                          s/ Mariah Kauder
                            UNITED STATES DISTRICT COURT
                                                      for the
                                          EASTERN DISTRICT OF WISCONSIN

In the Matter of the Seizure of
         (Address or brief description of property or premises to be seized)



UP TO 10,983.26 TETHER (USDT) AND                                              Case Number: 24-M-366 (SCD)
.00000869 BITCOIN (BTC) CRYPTOCURRENCY
ON DEPOSIT IN BINANCE ACCOUNT USER
ID #23526766 HELD IN THE NAME OF AQIB SHAIKH


                 WARRANT TO SEIZE PROPERTY SUBJECT TO FORFEITURE

TO:      ASHLEY GENTLE, a Special Agent with the Federal Bureau of Investigation, and any
         Authorized Officer of the United States.

An application by a federal law enforcement officer or an attorney for the government requests that certain
property be seized as being subject to forfeiture to the United States of America. The property is described
as follows:
Up to 10,983.26 Tether (USDT) and .00000869 Bitcoin (BTC) cryptocurrency on deposit in Binance account user
ID #23526766 held in the name of Aqib Shaikh


I find that the affidavit and any recorded testimony establish probable cause to seize the property.

YOU ARE HEREBY COMMANDED to search on or before                                           4-4                          , 2024
                                                                                             (not to exceed 14 days)

       ‫ ٱ‬in the daytime – 6:00 a.m. to 10:00 p.m.                              ‫ٱ‬
                                                                               X at any time in the day or night, as I find
reasonable cause has been established.
Unless delayed notice is authorized below, you must also give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at
the place where the property was taken.

An officer present during the execution of the warrant must prepare, as required by law, an inventory of any property
seized and the officer executing the warrant must promptly return this warrant and a copy of the inventory to United
States Magistrate Judge Stephen C. Dries.

          ‫ ٱ‬I find that immediate notification may have an adverse result listed in 18 U.S.C. §2705 (except for delay of
trial), and authorize the officer executing this warrant to delay notice to the person, who, or whose property, will be
searched or seized (check the appropriate box)  ‫ ٱ‬for _____ days. (not to exceed 30)
                                                ‫ ٱ‬until, the facts justifying, the later specific date of __________

Date and time issued 3-21                     , 2024;
                                                            11:55p.m.
                                                                   a.m.
                                                                                             Judge’s signature

City and state: Milwaukee, Wisconsin                                           THE HONORABLE STEPHEN C. DRIES
                                                                               United States Magistrate Judge
                                                                               Name & Title of Judicial Officer



         Case 2:24-mj-00366-SCD                                 Filed 03/21/24       Page 1 of 10         Document 1
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                                                                                                      Executing officer’s signature



                                                                                                         Printed name and title




                         Case 2:24-mj-00366-SCD                         Filed 03/21/24        Page 2 of 10       Document 1
                                                                        Mar 21, 2024

                                                                      s/ Mariah Kauder




                                              24-M-366 (SCD)




3-21-24




Case 2:24-mj-00366-SCD   Filed 03/21/24   Page 3 of 10   Document 1
                              AFFIDAVIT IN SUPPORT OF
                         APPLICATION FOR SEIZURE WARRANT

       I, Ashley Gentle, have been duly sworn on oath, state as follows:

                                      Affiant’s Background

       1.      I am a Special Agent (“SA”) for the Federal Bureau of Investigation (“FBI”)

currently assigned to the Milwaukee Field Division. I have been employed as a SA with the FBI

since February 2023. I have received basic federal law enforcement training, including the training

at the FBI academy, as well as other specialized federal law enforcement training. I have

participated in the investigation of numerous criminal matters. I have used many investigative

techniques in furtherance of such investigations. I have interviewed and operated informants,

conducted searches and interviews, and have conducted physical and electronic surveillance. In

my experience as a law enforcement officer, I have assisted in investigations, which have resulted

in the issuance and execution of search warrants resulting in the seizure of evidence, and the arrest

of individuals to include those involved in financial fraud, including wire fraud, in violation of 18

U.S.C. § 1343, and other violations of federal criminal law.

       2.      I have knowledge of the following information based on my own observations and

investigation as well as information that I have learned from other law enforcement officers, to

include but not limited to, verbal discussions with other law enforcement officers named in this

affidavit. Because this affidavit is being submitted solely for establishing probable cause to obtain

warrants, I have not included each and every fact known to your affiant concerning this

investigation. I have set forth facts necessary to support the authorization of the requested search

warrant.




       Case 2:24-mj-00366-SCD            Filed 03/21/24      Page 4 of 10      Document 1
                                       Property Sought to be Seized

       3.      I submit this affidavit in support of an application for a warrant to seize up to

10,983.26 Tether (USDT) and .00000869 Bitcoin (BTC) cryptocurrency in the Binance account

of User ID 23526766 held in the name of AQIB SHAIKH.

       4.      For the reasons set forth below, I submit that up to 10,983.26 Tether (USDT) and

.00000869 Bitcoin (BTC) cryptocurrency held in the Binance account of User ID 23526766 are:

       a.      Funds traceable to, and are therefore proceeds of, a wire fraud offense or offenses
               committed in violation of 18 U.S.C. § 1343, and therefore are subject to civil
               forfeiture under 18 U.S.C. §§ 981(a)(1)(C) and 984, including cross-references to
               18 U.S.C. §§ 1956(c)(7) and 1961(1), and subject to criminal forfeiture under 18
               U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c); and

       b.      Subject to seizure via a civil seizure warrant under 18 U.S.C. § 981(b)(2) and via a
               criminal seizure warrant under 18 U.S.C. § 982(b)(1) and 21 U.S.C. § 853(f).

                                 Summary of Scheme to Defraud

       5.      There is probable cause to believe that up to $10,983.84 in proceeds of a wire fraud

scheme were involved in material misrepresentations and the use of the interstate wires in

connection with a tech support fraud scam have been deposited, and comingled with other funds,

in the Binance account of User ID 23526766.

       6.      As part of the tech support fraud scam, a victim transferred approximately $23,800

by means of wire, through text messages and cryptocurrency transfers, while located within the

Eastern District of Wisconsin, to a subject located outside this judicial district.

                                Statement of Probable Cause
                           Oconomowoc, WI Fraud Scheme Overview

       7.      On Monday, March 4, 2024, at approximately 4:56 PM, the City of Oconomowoc

Police Department (“OPD”) received a report of theft by fraud from an individual having the




                                                  2

       Case 2:24-mj-00366-SCD            Filed 03/21/24       Page 5 of 10       Document 1
initials L.M., who resides at 9XX Lake Country Court, City of Oconomowoc, Waukesha County,

Wisconsin. L.M. was defrauded $23,800 as a result of a tech support scam.

       8.       On March 4, 2024, L.M. received a pop-up alert on her computer from Microsoft

support claiming that her computer was hacked and to call the phone number +1 (206) 388-2003

for assistance. Based on publicly available information, case agents are aware that area code 206

is associated with the Seattle, Washington area, where Microsoft has its headquarters. L.M. called

+1 (206) 388-2003 for assistance and spoke with a subject who purported to be a Microsoft

employee. Based on their training and experience, and the investigation to date, case agents

believe that the purported Microsoft employee obtained remote access to L.M.’s computer in an

effort to gain information from L.M.’s computer.

       9.       OPD observed approximately eight phone numbers L.M. either called or received

calls from on or about March 4, 2024. The phone numbers included: +1 (206) 388-2003, +1 (786)

864-4515, +1 (800) 935-9935, and +1 (866) 465-6821. Upon researching those phone numbers

through various indices, the phone numbers returned to Twillio, TextNow, Bandwidth, and other

Voice Over Internet Protocol (VoIP) numbers. Based on their training and experience, and the

investigation to date, case agents are aware that Twillio, TextNow, Bandwidth, and other VoIP

numbers are commonly used in fraud schemes to spoof legitimate businesses’ phone numbers.

       10.      This type of fraud is commonly referred to as a “Tech Support Scam.” Subjects in

involved in this type of scam commonly target elderly individuals. In fact, Microsoft Corporation

documents on their website, “Protect yourself from tech support scams,” with the following

information:


            Microsoft does not send unsolicited email messages or make unsolicited
            phone calls to request personal or financial information, or to provide technical



                                                3

       Case 2:24-mj-00366-SCD          Filed 03/21/24      Page 6 of 10     Document 1
         support to fix your computer. If you didn't ask us to, we won't call you to offer
         support.

         If a pop-up or error message appears with a phone number, don’t call the
         number. Error and warning messages from Microsoft never include a phone
         number.

         Microsoft will never ask that you pay for support in the form of
         cryptocurrency like Bitcoin, or gift cards

       11.       The subject directed L.M. to go to her bank and withdraw $23,800 (US Currency)

and deposit $23,800 into a ByteFederal Bitcoin ATM located at Okauchee Wine & Liquor

(N50W34844 Wisconsin Ave, Okauchee, WI 53069). L.M. performed the first withdrawal on

March 4, 2024, at approximately 11:50 AM, at Chase Bank in Oconomowoc, Wisconsin, in the

amount of $9,800. The second withdrawal occurred on March 4, 2024, at approximately 2:31 PM,

at Chase bank in Delafield, Wisconsin, in the amount of $14,000. The total amount withdrawn

from L.M.’s account was $23,800.

       12.       OPD confirmed, with Chase bank withdrawal receipts, that L.M. utilized the funds

withdrawn from Chase Bank to deposit $23,800 into the ByteFederal Bitcoin ATM.

       13.       OPD confirmed, with screenshots from the ByteFederal Bitcoin ATM deposit

receipts, that L.M. deposited the following amounts of US Currency into the ByteFederal ATM on

March 4, 2024:

             •     $9,800.00 – ID: LPNCVRUKYY
             •     $4,000.00 – ID: LY2G0EQIUP
             •     $6,000.00 – ID: LACXB5VYRE
             •     $4,000.00 – ID: LXHKJYQZA9

                              Oconomowoc, WI Cryptocurrency Tracing

       14.       On March 5, 2024, OPD sent the ByteFederal Bitcoin ATM transaction receipts to

Dan Wellen, with Mid-States Organized Crime Information Center, for blockchain analysis.

Wellen is a Senior Criminal Information Specialist who specializes in cryptocurrency

                                                 4

       Case 2:24-mj-00366-SCD           Filed 03/21/24     Page 7 of 10     Document 1
investigations. The screenshot transaction receipts contained the sending wallet address, receiving

wallet addresses and the transaction ID information for the fraudulent transactions. Wellen

identified the following information:

       15.     On or about March 4, 2024, approximately 0.0474694800 BTC (approximately

$2,993 in US Currency based on the average daily Bitcoin price on March 4, 2024) was transferred

from the Bitcoin ATM to bc1qld94ew9hjmh5pquqvs56ujtgdaehsyystxpvge (referenced as

“bc1ql”)     which     was       immediately     transferred     to    the      Binance     address

1AxMcFEpVzpNYFhwbAGG5oVnCZENLcasmb (referenced as “1AxM”) via transaction hash

c96b7eeac089318a7a8f6eb0b05c858c42aa669710e8eacb1c426986c508c98c. Based on analysis

performed by law enforcement, the “1AxM” address is associated with the cryptocurrency

exchange Binance.

       16.     On or about March 4, 2024, approximately 0.11652868 BTC (approximately

$7,347 in US currency based on the average daily Bitcoin price on March 4, 2024) was transferred

from the Bitcoin ATM to bc1qnqzvqrc7r37cr4wx3wus2mx35z8djh2pfgnrxr (referenced as

“bc1qn”)     which      was      immediately     transferred     to    the      Binance     address

1AxMcFEpVzpNYFhwbAGG5oVnCZENLcasmb (referenced as “1AxM”) via transaction hash

eed32837413048661341feb300e028acf477aaa66b33fb2c4c8c732523915eab. Based on analysis

performed by law enforcement, the “1AxM” address with the cryptocurrency exchange Binance.

                        Identifying the Binance account of User ID 23526766

       17.     On or about March 6, 2024, law enforcement requested the account information

associated      with       the      address         “1AxM”       and         transaction    hashes

eed32837413048661341feb300e028acf477aaa66b33fb2c4c8c732523915eab                               and

c96b7eeac089318a7a8f6eb0b05c858c42aa669710e8eacb1c426986c508c98c                   from    Binance.



                                                5

       Case 2:24-mj-00366-SCD           Filed 03/21/24       Page 8 of 10      Document 1
Binance confirmed that this address is associated with Binance User ID 23526766.                Binance

provided the identifiers that are associated with Binance User ID 23526766.

        18.       According to Binance records, Binance User ID 23526766 is in the name of AQIB

SHAIKH, whose account was registered on or about March 31, 2022, utilizing a Government of

India identification card. Analysis of the Binance user’s account activity shows a deposit of

approximately 0.0474694800 BTC and 0.11652868 BTC into Binance User ID 23526766 account

utilizing     a       receiving      address      of       “1AxM”       and      transaction     hashes

eed32837413048661341feb300e028acf477aaa66b33fb2c4c8c732523915eab                                     and

c96b7eeac089318a7a8f6eb0b05c858c42aa669710e8eacb1c426986c508c98c on March 4, 2024.

        19.       Further analysis by law enforcement of the User ID 23526766’s Binance account

identified that after the above BTC deposit, the account owner converted comingled funds of

.2341792 BTC to approximately 15,000.00 USDT. The value of USDT Tether is tied to the value

of the United States dollar, thus the current value is $15,000.00. This is slightly larger than the

amount of U.S. currency that was stolen from L.M.

        20.       Further analysis of the Binance user account records for ID 23526766 show an

account balance of 0.00000869 BTC and 10,983.26563996 USDT. On March 6, 2024, law

enforcement requested Binance freeze the account of Binance user ID 23526766 utilizing the name

of AQIB SHAIKH.

        21.       Based on analysis of the IP addresses utilized to access the user’s account, the user’s

account is primarily accessed utilizing IP addresses that geolocate to India. Based on the user’s

account information, as well as identity documents and access logs, law enforcement does not

believe the individual resides within the United States.




                                                       6

        Case 2:24-mj-00366-SCD              Filed 03/21/24      Page 9 of 10      Document 1
        22.     I submit that a restraining order under 21 U.S.C. § 853(e) may not be sufficient to

assure the availability of the funds for forfeiture because I have been advised of cases in which,

even after restraining order or similar process has been issued to financial institution, the funds

sought to be restrained were not effectively restrained by the financial institution. In my judgment,

a seizure warrant would be the most effective way to assure the availability of the money sought

to be seized for forfeiture.

                                            Conclusion

        23.     Based on the facts and circumstances set forth in this affidavit, I submit that there

exists probable cause to believe that up to 10,983.26 Tether (USDT) and .00000869 Bitcoin (BTC)

cryptocurrency in the Binance account of User ID 23526766 held in the name of AQIB SHAIKH

are:

                a.      Funds traceable to, and are therefore proceeds of, a wire fraud offense or
                        offenses committed in violation of 18 U.S.C. § 1343, and therefore are
                        subject to civil forfeiture under 18 U.S.C. §§ 981(a)(1)(C) and 984,
                        including cross-references to 18 U.S.C. §§ 1956(c)(7) and 1961(1), and
                        subject to criminal forfeiture under 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C.
                        § 2461(c); and

                b.      Subject to seizure via a civil seizure warrant under 18 U.S.C. § 981(b)(2)
                        and via a criminal seizure warrant under 18 U.S.C. § 982(b)(1) and
                        21 U.S.C. § 853(f).

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                                                  7

       Case 2:24-mj-00366-SCD           Filed 03/21/24      Page 10 of 10       Document 1
